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AO 450 (SCD 04/2010) Judgment in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                        District of South Carolina


                    Nathaniel Gold,
                        Plaintiff
                           v.                                               Civil Action No.       5:18-cv-02996-JMC
     South Carolina, The State of in their official
   capacity; Theodore Lupton 1st Judicial Cir Ass.                  )
                                                                    )
  Solicitor in their individual capacity; Michell E.
                                                                    )
 Farley Attorney at Law in their individual capacity;
                                                                    )
    Breen R. Stevens in their individual capacity;                  )
 Nicholas McCarley 2nd Judicial Public Defender in
               their individual capacity,

                         Defendants.

                                                  JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

 ’ the plaintiff (name)            recover from the defendant (name)               the amount of             dollars ($ ),
which includes prejudgment interest at the rate of       %, plus postjudgment interest at the rate of     %, along with
costs.
 O The plaintiff, Nathaniel Gold, shall take nothing of the defendants, South Carolina, The State of in their official
 capacity; Theodore Lupton 1st Judicial Cir Ass. Solicitor in their individual capacity; Michell E. Farley Attorney at Law
 in their individual capacity; Breen R. Stevens in their individual capacity and Nicholas McCarley 2nd Judicial Public
 Defender in their individual capacity, and this action is dismissed without prejudice.

This action was (check one):

’ tried by a jury, the Honorable                            presiding, and the jury has rendered a verdict.

’ tried by the Honorable                          presiding, without a jury and the above decision was reached.

O decided by the Honorable J. Michelle Childs, United States District Judge, presiding, accepting with the Report and
Recommendation of the Honorable Shiva V. Hodges, United States Magistrate Judge, which recommended dismissing
the action.

Date: October 20, 2021                                                     ROBIN L. BLUME, CLERK OF COURT


                                                                                                  s/L. Baker
                                                                                        Signature of Clerk or Deputy Clerk
